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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


GAMCO ASSET MANAGEMENT, INC., on
behalf of itself and all others similarly situated,   Case No. 4:19-cv-03363

                                   Plaintiff,
                                                      CLASS ACTION
v.
                                                      JURY TRIAL DEMANDED
MARK MCCOLLUM, CHRISTOPH BAUSCH,
KARL BLANCHARD, WILLIAM
MACAULAY, MOHAMED AWAD,
ROXANNE DECYK, JOHN GASS, EMYR
PARRY, FRANCIS KALMAN, DAVID KING,
GUILLERMO ORTIZ, ANGELA MINAS,
BERNARD DUROC-DANNER, KRISHNA
SHIVRAM, DAVID BUTTERS, ROBERT
MOSES, ROBERT RAYNE and J.P. MORGAN
SECURITIES LLC,

                                    Defendants.


     MOTION AND MEMORANDUM OF LAW IN SUPPORT OF GAMCO ASSET
       MANAGEMENT, INC’S APPOINTMENT AS LEAD PLAINTIFF AND
          FOR APPROVAL OF ITS SELECTION OF LEAD COUNSEL
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        Plaintiff GAMCO Asset Management, Inc. (“GAMCO”) respectfully submits this motion

and memorandum seeking an order, substantially in the form attached hereto as Exhibit 1: (1)

appointing GAMCO as lead plaintiff in the above-captioned securities class action (the “Action”)

pursuant to the Private Securities Litigation Reform Act of 1995 (the “PSLRA”); and (2)

approving GAMCO’s selection of Entwistle & Cappucci LLP (“Entwistle & Cappucci”) as lead

counsel for the Action. 1 In support of this motion, GAMCO has filed concurrently herewith the

Declaration of Andrew J. Entwistle (cited herein as the “Entwistle Decl.”).

                                 PRELIMINARY STATEMENT

        GAMCO initiated the Action on September 6, 2019 by filing a complaint (the

“Complaint”) (ECF No. 1) against certain former and current Weatherford International plc

(“Weatherford” or the “Company”) officers and directors (the “Weatherford Defendants”) 2 on

behalf of itself and all persons or entities (the “Class”) who purchased or otherwise acquired

Weatherford common stock: (1) during the period October 26, 2016 through May 10, 2019 (the

“Class Period”); and/or (2) pursuant or traceable to Weatherford’s secondary offering of

common stock underwritten by defendant J.P. Morgan Securities LLC (“JPMS”) that closed on

or about November 21, 2016 (the “Equity Offering”). 3

        The crux of GAMCO’s Complaint is that during the Class Period the Weatherford

Defendants made or caused Weatherford to make repeated material misstatements and omissions


1
  Due to the nature of the PSLRA’s lead plaintiff application process and deadline, it was not possible for
GAMCO to comply with Local Civil Rule 7.1D’s requirement to confer with opposing movants prior to
filing the instant motion because the identity of such parties is not known at the time of filing.
2
  The Weatherford Defendants are Mark McCollum, Christoph Bausch, Karl Blanchard, William
Macaulay, Mohamed Awad, Roxanne Decyk, John Gass, Emyr Parry, Francis Kalman, David King,
Guillermo Ortiz, Angela Minas, Bernard Duroc-Danner, Krishna Shivram, David Butters, Robert Moses,
and Robert Rayne.
3
  Pursuant to the PSLRA, the Complaint attached a certification from GAMCO’s general counsel that
listed all its Class period transactions. See Entwistle Decl., Ex. A.
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concerning the Company’s purported “Transformation Plan” that would supposedly rescue the

Company when, in truth, its bankruptcy was virtually inevitable. Among other things, the

misstatements and omissions enabled the Company, with the assistance of Defendant JPMS, to

complete a $456 million equity offering and caused investors up to $1.0 billion in damages.

          GAMCO appeared in Weatherford’s Chapter 11 bankruptcy proceedings (the

“Weatherford Bankruptcy”) in the United States Bankruptcy Court for the Southern District of

Texas (the “Bankruptcy Court”) 4 even before filing the Complaint in order to protect the rights

of the Class in several ways, including actively litigating to challenge a third-party release (the

“Third-Party Release”) in the Company’s plan of reorganization (the “Reorganization Plan”).

          Under the applicable PSLRA standards, GAMCO is the presumptive lead plaintiff and

should be appointed to litigate the Action on behalf of the Class.

          First, GAMCO has the largest financial interest in the relief sought. During the Class

Period, GAMCO:

          (a)     Purchased more than 17.1 million Weatherford common shares for more
                  than $44.9 million (see Entwistle Decl., Ex. B p. 71); and

          (b)     Sustained market losses of more than $38.7 million on first-in-first-out
                  (“FIFO”) basis (see id.) and more than $4.3 million on last-in-first-out
                  (“LIFO”) basis (see Entwistle Decl., Ex. C p. 69).

          Second, GAMCO meets the “typicality and adequacy” requirements of Rule 23.

GAMCO’s claims are identical to absent Class members and there is no potential conflict with the

Class. GAMCO will fairly and adequately represent the Class’ interests and in fact is precisely

the type of sophisticated investor that Congress intended to lead securities class actions. Indeed,

GAMCO has already demonstrated it will protect the interests of the Class by:



4
    See In re: Weatherford International plc, et al., 19-33694 (DRJ).

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       (a)     Investigating the claims and filing the only complaint against the
               Weatherford Defendants and JPMS (collectively, the “Defendants”); and

       (b)     Appearing in the Weatherford Bankruptcy to challenge the Third-Party
               Release in the Company’s Reorganization Plan that may preclude the
               claims of certain potential Class members.

       For these reasons, respectfully, the Court should appoint GAMCO as lead plaintiff.

       The Court should also approve GAMCO’s selection of Entwistle & Cappucci as lead

counsel for the Class. Entwistle & Cappucci, with offices in Austin, Texas and New York, New

York, is nationally recognized for recovering billions of dollars in investor class actions and has

successfully litigated in this District before. Indeed, earlier this year, Entwistle & Cappucci

served as co-lead counsel in a securities class action against an oil and gas company before the

Honorable Nancy Atlas that recovered from $173.8 to $335.3 million for investors.

              FACTUAL BACKGROUND AND PROCEDURAL HISTORY

       As alleged in the Complaint, this Action arises from a pattern of misrepresentations and

omissions by the Weatherford Defendants – starting in October 2016 and ending when

Weatherford announced in May 2019 that it intended to seek bankruptcy protection – designed to

prop up the stock price of the failing Company. The misrepresentations and omissions advanced

a narrative that Weatherford, a former oil industry giant, was entering a new era of “recovery”

and had developed a “Transformation Plan” that would purportedly achieve $1.0 billion in

incremental EBITDA, allow the Company to manage its considerable debt, and return it to

profitability. In reality, however, Weatherford – which as of the end of the third quarter of 2016

had $6.9 billion in debt – had virtually no prospects of continuing as a going concern.

       The Weatherford Defendants’ scheme, and the material misstatements and omissions that

facilitated it, enabled the Company to, among other things, complete a $456 million Equity

Offering to Class members in November 2016 and maintain the fiction that Weatherford would


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survive. Perhaps most egregiously, during a February 2019 earnings call, Weatherford’s CEO

told investors that the Company’s Transformation Plan remained “on track” and that he does not

“waste a lot of time thinking or planning” for bankruptcy. However, by that time, Weatherford

had already hired bankruptcy advisors and was in the process of preparing to commence Chapter

11 proceedings.

       The truth about Weatherford’s dire financial condition was ultimately revealed in

disclosures that caused up to $1.0 billion in damages to the Class. First, on October 29, 2018,

prior to the market open, Weatherford reported a loss of $199 million for the third quarter of

2018, indicating Weatherford’s Transformation Plan was illusory and causing Weatherford’s

stock price to fall more than 36.3% in the two trading days that followed. Second, on May 10,

2019, Weatherford announced it expected to file for Chapter 11 bankruptcy protection, causing

its common stock price to drop over 85%.

       Ultimately, however, the Weatherford Defendants’ narrative allowed Weatherford to stay

afloat long enough for management to negotiate a sweetheart deal with creditors in advance of

Weatherford’s pre-packaged Reorganization Plan under which management will receive up to

5% ownership in the reorganized company, while existing equity holders (including Class

members) will receive less than 1%.

       On July 1, 2019, Weatherford did indeed commence its Chapter 11 bankruptcy

proceedings. GAMCO, which was at the time investigating potential claims against Weatherford

and the Weatherford Defendants, realized that any such claims would be affected by the

Weatherford Bankruptcy and instructed Entwistle & Cappucci to appear.

       On August 20, 2019, GAMCO filed an objection to Weatherford’s Reorganization Plan

on grounds it contains the Third-Party Release that arguably violates Fifth Circuit precedent



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against non-consensual, non-debtor releases by potentially barring the litigation claims of: (1)

former equity investors in Weatherford during the Class Period who no longer held shares at the

commencement of the Weatherford Bankruptcy and were thus not parties to the Weatherford

Bankruptcy and received no notice of the Third-Party Release; and (2) existing equity holders

who voted against the Reorganization Plan but did not expressly opt out of the release on their

ballot. (Weatherford Bankruptcy ECF No. 281).

       On September 6, 2019, GAMCO filed the Complaint asserting claims on behalf of the

Class under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”) and Sections 11 and 15 of the Securities Act of 1933 (the “Securities Act”). On the same

day GAMCO issued a press release notifying potential class members of the November 5, 2019

deadline to move for appointment as lead plaintiff. (See Entwistle Decl., Ex. D).

       On September 11, 2019, the Bankruptcy Court overruled GAMCO’s objection to the

Third-Party Release. (Weatherford Bankruptcy ECF No. 343 ¶ 3). On October 20, 2019, the

Bankruptcy Court granted GAMCO’s motion to reconsider but affirmed its underlying decision

overruling the objection. (Weatherford Bankruptcy ECF No. 391).

       On October 31, 2019, GAMCO timely filed a notice of appeal. (Weatherford Bankruptcy

ECF No. 413). If successful, the appeal will protect the rights of former investors who did not

have the opportunity to opt out of the Weatherford Bankruptcy, as well as current Weatherford

shareholders who voted against the Plan but did not opt out.          More than 2,731 current

shareholders – including GAMCO – did opt out and unquestionably may be members of the

Class. (Weatherford Bankruptcy ECF No. 384 ¶ 28).

                                         ARGUMENT

       The PSLRA provides a sequential procedure for selecting a lead plaintiff for private

actions arising under the Exchange Act and/or Securities Act. See 15 U.S.C. § 78u-4(a)(l); see
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also 15 U.S.C. § 78u-4(a)(3)(B).

        In adjudicating lead plaintiff motions, the “most adequate plaintiff” is the movant that has

the largest financial interest in the relief sought by the class and otherwise satisfies the

requirements of Rule 23. 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I). The presumption that the “most

adequate plaintiff” is the movant with the largest financial interest may be rebutted only by a

showing that the presumptively most adequate plaintiff “will not fairly and adequately protect

the interests of the class” or “is subject to unique defenses that render such plaintiff incapable of

adequately representing the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(II).

      I.         GAMCO Is Presumptively The “Most Adequate Plaintiff”

        GAMCO respectfully submits that it is presumptively the “most adequate plaintiff.”

GAMCO has complied with the PSLRA’s procedural requirements, 5 possesses the largest

financial interest, and satisfies Rule 23’s typicality and adequacy requirements.

                 A.     GAMCO Possesses The Largest Financial Interest

           “Courts in this district consider four factors to determine which plaintiff has the

largest financial interest [] (1) the number of shares purchased, (2) the number of net shares

purchased, (3) the total net funds expended by the plaintiff(s) during the class period, and (4) the

approximate losses suffered by the plaintiff(s).” Cambria Cty. Emps. Ret. Sys. v. Venator

Materials PLC, No. H-19-3564, 2019 WL 5328877, at *2 (S.D. Tex. Oct. 21, 2019). (citation

omitted). “[H]owever, courts consistently consider the fourth factor—the approximate losses

suffered—as most determinative in identifying the plaintiff with the largest financial loss.”

Strong v. AthroCare Corp., No. A-08-CA-574-SS, 2008 WL 11334942, at *5 (W.D. Tex. Dec.

10, 2008).

5
 GAMCO has complied with the PSLRA’s procedural requirements by filing the Complaint in this
matter as well as by filing this motion by the November 5, 2019 deadline.

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        During the Class Period, GAMCO purchased 17,157,142 shares of Weatherford common

stock for $44,921,276.70 and incurred losses on its investments in Weatherford common stock of

$38,771,188.85 on a FIFO basis (Entwistle Decl. Ex. B p. 71) and $4,380,750.81 on a LIFO

basis (Entwistle Decl. Ex. C p. 69). 6

        GAMCO believes it has the largest financial interest in the relief sought by the Class. To

the best of the GAMCO’s knowledge, there are no other applicants who have sought, or are

seeking, a lead plaintiff appointment who purchased more Weatherford common shares during

the Class Period or sustained greater losses than GAMCO. Accordingly, GAMCO has the

largest financial interest of any qualified movant seeking Lead Plaintiff status and is the

presumptive “most adequate plaintiff.” 15 U.S.C. § 78u-4(a)(3)(B)(iii).

                B.       GAMCO Satisfies Rule 23’s Typicality And Adequacy
                         Requirements

        GAMCO also “otherwise satisfies the requirements of Rule 23.” 15 U.S.C. § 78u-

4(a)(3)(B)(iii)(I)(cc). At the lead plaintiff selection stage, all that is required is a preliminary

showing that the lead plaintiff’s claims are typical of the class and its representation will be

adequate. See In re Kosmos Energy Ltd. Sec. Litig., No. 3:12-cv-373-B, 2012 WL 6199318, at

*2 (N.D. Tex. Nov. 1, 2012) (“The Rule 23 inquiry is not rigorous here; at this stage of the

6
  With respect to factor (2), GAMCO was a “net seller” of Weatherford Common stock during the Class
Period, meaning it sold more shares than it purchased. However, courts in this District and elsewhere
have repeatedly held that a “net seller” can be a lead plaintiff or class representative, as long as it has a
recoverable loss. See In re BP PLC Sec. Litig., No. 10-md-2185, 2013 WL 6388408, at *8-9 (S.D. Tex.
Dec. 6, 2013) (rejecting challenge to plaintiff’s typicality due to its “net seller” status); Richman v.
Goldman Sachs Grp., Inc., 274 F.R.D. 473, 479 (S.D.N.Y. 2011) (“While there is wisdom in the rule that
net sellers who are also net gainers should not be lead plaintiffs; there is no good reason not to recognize
losses which a net seller has incurred.”); Hodges v. Immersion Corp., No. C-09-4073 MMC, 2009 WL
5125917, at *2 (N.D. Cal. Dec. 21, 2009) (“[W]here a ‘net seller’ is a ‘net loser,’ the net seller has
incurred a cognizable loss and is the presumptive lead plaintiff where its net losses exceed those of the
other movants.”); Richardson v. TVIA, Inc., No. C 06 06304 RMW, 2007 WL 1129344, at *3 (N.D. Cal.
Apr. 16, 2007) (“In cases involving net sellers who are also net losers . . . courts have held that a movant
should have no trouble proving damages and, therefore, is qualified to serve as lead plaintiff.”) (internal
citations omitted). With respect to factor (3), GAMCO’s Class Period net expenditures were $144,309.

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proceedings, a lead plaintiff applicant ‘need only make a preliminary showing that [it] satisfies

these requirements.’”) (citation omitted); see also In re BP PLC Sec. Litig., 758 F. Supp. 2d 428,

435 (S.D. Tex. 2010) (“To make such a preliminary showing, potential lead plaintiffs need not

submit evidentiary proof of typicality or adequacy.”) (citation omitted). As detailed below,

GAMCO plainly satisfies the typicality and adequacy requirements of Rule 23 and is thus

qualified to serve as Lead Plaintiff.

       Pursuant to Rule 23(a)(3), the claims or defenses of the representative party must be

typical of those of the class. Fed. R. Civ. P. 23(a)(3). A proposed lead plaintiff’s claims are

considered typical “where the named representative’s claims have the same essential

characteristics as the claims of the class at large.” Hohenstein v. Behringer Harvard REIT I, Inc.,

No. 3:12-CV-3772-G, 2012 WL 6625382, at *3 (N.D. Tex. Dec. 20, 2012) (citation omitted).

The typicality requirement is satisfied so long as “claims arise from a similar course of conduct

and share the same legal theory,” even when there are “factual differences.”            Parker v.

Hyperdynamics Corp., No. 4:12-CV-999, 2013 WL 623164, at *3 (S.D. Tex. Feb. 19, 2013)

(citation omitted).

       The typicality requirement is easily satisfied here. GAMCO seeks exactly the same relief

as the Class based on the same factual allegations and legal theories. As did all members of the

Class, GAMCO purchased Weatherford common stock during the Class Period at prices

artificially inflated by Defendants’ misrepresentations and omissions and suffered damages as a

result. See Parker, 2013 WL 623164, at *3 (discussing typicality requirement). Moreover,

GAMCO purchased shares in the Equity Offering on November 21, 2016 (Entwistle Decl. Ex. A,

Ex. 1 p. 2), thereby giving it standing to assert claims on behalf of similarly situated Class

members. These shared claims, which arise under a common legal theory and from the same



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events and course of conduct as those of the Class’s members, satisfy Rule 23(a)(3)’s typicality

requirement.

       GAMCO likewise meets the adequacy of representation requirement of Rule 23(a)(4),

which is satisfied when movants establish that they “will fairly and adequately protect the

interests of the class.” Fed. R. Civ. P. 23(a)(4). Adequacy can be demonstrated by a showing of

“[1] the zeal and competence of the representatives’ counsel and [2] the willingness and ability

of the representatives to take an active role in and control the litigation and to protect the

interests of absentees.” Parker, 2013 WL 623164, at *3 (citation omitted); see also Kosmos

Energy, 2012 WL 6199318, at *2 (finding a movant had satisfied Rule 23’s adequacy

requirement by establishing its “significant financial interest in the litigation” and its “select[ion

of] competent counsel”) (citations omitted).

       GAMCO satisfies these elements because its substantial financial stake in the litigation

provides an incentive to vigorously represent the Class’ claims. In fact, GAMCO has already

taken significant steps by investigating and filing a detailed complaint initiating this Action, as

well as objecting to the Third-Party Release in the Weatherford Bankruptcy to protect the rights

of certain Class members and filing a notice of appeal of the Bankruptcy Court’s order

overruling that objection.

       GAMCO has also demonstrated its adequacy through its direction to Entwistle &

Cappucci to investigate the Class’ claims and decision to retain the firm to act as lead counsel for

the Class.     As discussed more fully below, Entwistle & Cappucci is highly qualified and

experienced in securities class action litigation, having repeatedly demonstrated an ability to

prevail in complex securities class action litigation.




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     II.          GAMCO Is An Ideal PSLRA Lead Plaintiff

           In addition to satisfying the technical requirements of Rule 23, GAMCO is precisely the

type of investor Congress sought, through the enactment of the PSLRA, to encourage to assume a

more prominent role in securities litigation. Kosmos Energy, 2012 WL 6199318, at *2 n. 2

(noting that “through the PSLRA, Congress has unequivocally expressed its preference for

securities fraud litigation to be directed by large institutional investors”) (citation omitted). As

Congress explained in its PSLRA Statement of Managers Report, the PSLRA was formulated “to

increase the likelihood that institutional investors will serve as lead plaintiff[],” in part, because

“[i]nstitutional investors . . . with large amounts at stake will represent the interests of the plaintiff

class more effectively than class members with small amounts at stake.” In re Cendant Corp.

Litig., 264 F.3d 201, 244, 264 (3d Cir. 2001) (quoting H.R. Rep. No. 104-327, at 34 (1995), as

reprinted in 1995 U.S.C.C.A.N. 730, 737); see also BP, 758 F. Supp. 2d at 439 (“[T]he PSLRA

expresses a strong preference for institutional investors to serve as lead plaintiffs.”).

        Appointing GAMCO – a corporation with more than $34 billion in assets under

management that provides investment advisory services to funds, institutional and private wealth

management investors – as Lead Plaintiff will satisfy the PSLRA’s aim of having the Class

represented by an institutional investor with a significant stake in the outcome of the litigation

and the resources to advance the Class’ interests.

    III.          The Court Should Approve GAMCO’s Choice Of Lead Counsel

           The PSLRA vests authority in the lead plaintiff to “select and retain lead counsel,” subject

to this Court’s approval. 15 U.S.C. § 78u-4(a)(3)(B)(v); see also BP, 758 F. Supp. 2d at 442

(same). As such, this Court should not disturb the lead plaintiff’s choice of counsel unless

necessary to “protect the interests of the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(II)(aa). Here,

GAMCO has chosen counsel with extensive experience and a demonstrated history of success in

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numerous important actions on behalf of defrauded investors, and its selection of counsel should

be approved.

       Entwistle & Cappucci is among the preeminent securities class action law firms in the

country, with offices in Texas and New York. (See Entwistle Decl., Ex. E). Entwistle &

Cappucci has extensive experience successfully prosecuting large and complex class actions and

has distinguished itself in successfully pursuing multi-jurisdictional cases against well-funded

opponents, including large corporations and financial institutions. The firm has served in a

leadership capacity in some of the highest-profile securities litigation matters in recent years,

recovering over $4 billion for its clients and other investors.

       Moreover, Entwistle & Cappucci is uniquely qualified to litigate this matter based on its

recent success in In re Cobalt International Energy, Inc. Securities Litigation, No. 14-cv-3428

(S.D. Tex.) before Judge Atlas. Like the present action, Cobalt concerned, among other things,

alleged misstatements and omissions by a Houston-based oil and gas company. In that regard,

Entwistle & Cappucci worked extensively with an oil and gas expert to prosecute the case. Also

overlapping with this action, Cobalt involved an entity in bankruptcy and claims against its

directors and officers and underwriters. In Cobalt, Entwistle & Cappucci, as appointed Co-Lead

Counsel for the class, achieved settlements totaling $173.8 million in cash and up to $161.5

payable from the proceeds of the entity’s management liability policies that are subject to

ongoing litigation by Entwistle & Cappucci against carriers in Harris County District Court.

       Other significant cases in which Entwistle & Cappucci served in a leadership capacity

and obtained significant recoveries on behalf of the respective classes are set forth in the firm

resume attached as Exhibit E to the Entwistle Declaration.




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    IV.        The Court Should Consolidate Any Later Filed Cases

       To date, GAMCO is the only plaintiff who has filed a securities action against the

Weatherford Defendants. However, in the interests of efficiency, the Court should order any

subsequently filed securities cases arising from the same facts to be consolidated with this

Action. See, e.g., BP, 758 F. Supp. 2d 432-33 (“the Court finds it appropriate to consolidate all

of the BP securities class actions pending in this Court because they involve common questions

of law and fact. Although . . . there are significant differences among the claims in the various

cases, there are also substantial commonalities, and they involve ‘overlapping [d]efendants and a

common core of facts and legal issues.’”); In re Enron Corp. Sec. Litig., 206 F.R.D. 427, 440

(S.D. Tex. 2002) (noting that “consolidation, at least pretrial, serves to promote an orderly

progression of this very complex litigation”).

                                        CONCLUSION

       For the foregoing reasons, GAMCO respectfully request that the Court issue an order:

(1) appointing GAMCO to serve as lead plaintiff in this Action; (2) approving its selection of

Entwistle & Cappucci to serve as lead counsel for the Class and (3) consolidating any later filed

securities class actions against the Weatherford Defendants.



DATED: November 5, 2019                          Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I certify that on this 5th day of November 2019, I caused the foregoing to be

electronically filed with Clerk of the Court using the CM/ECF system, which will send

notification of such filing to the email addresses denoted on the Electronic Mail Notice List.


                                            /s/ Andrew J. Entwistle
                                            Andrew J. Entwistle




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